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                    Exhibit 5
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                                UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA
 -------------------------------------------------------------------------x
 CARINGONDEMAND, LLC and
 AVIOR SCIENCES, LLC,                                                         Case No.:
                                             Plaintiffs,

          - against -

 VENTIVE LLC,
                                             Defendant.
 ------------------------------------------------------------------------x

                                                  COMPLAINT

          Pursuant to 9 U.S.C. §4, Plaintiffs, CaringOnDemand, LLC ("Caring") and Avior Sciences,

 LLC ("Avior") (collectively the "Plaintiffs"), by and through their undersigned counsel, file this

 Complaint seeking an order to compel Defendant, Ventive LLC ("Ventive" or the "Defendant")

 (the Plaintiffs and the Defendant are collectively referred to as the "Parties"), to arbitrate all matters

 relating to the contract that the Parties entered into regarding work that the Defendant was hired

 to perform (the "project"). Plaintiffs request that this Court enter an Order pursuant to 9 U.S.C.

 §4 compel/i,ig arbitration of the Plaintiffs' claims against the Defendant (and any counterclaims

 the Defendant may have) detailed herein.

                                        NATURE OF THE ACTION

     1. On or about October 23, 2017, the Parties entered into a contract titled "Master Consultant

 Agreement" (the "Agreement"). See Agreement attached hereto as Exhibit "A". The Agreement

 called for the Defendant to render consulting and technical services for the benefit of the Plaintiffs

 in a timely and professional manner, with the Plaintiffs being the sole owner of the intellectual

 property and the Defendant being prohibited from withholding the intellectual property from the

 Plaintiffs because the Plaintiffs have paid for the services of the work that the Defendant has

 performed to date. See Non-Disclosure Agreement attached hereto as Exhibit "B".

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        2. The Agreement provides that all disputes arising under or relating to the Agreement will be

 submitted to binding arbitration 1, which shall be submitted and conducted by one arbitrator after

 demand for arbitration is made by one of the Parties.

        3. On February 16, 2018, the Plaintiffs sent notice to the Defendant and demanded arbitration

 related to disputes 2 arising under the Agreement. See Demand Letter attached hereto as Exhibit

 "C".

        4. Notwithstanding the terms of the Agreement, the Defendant has failed to comply with the

 terms of the Agreement requiring it to arbitrate the disputes with the Plaintiffs in Delray Beach,

 Florida or within 10 miles of the Plaintiffs' principal place of business (which would be in Palm

 Beach County, Florida) by its failure to respond to the Plaintiffs' demand to have such disputes

 resolved by arbitration. Furthermore, the Defendant has withheld the Plaintiffs' intellectual

 property, which has jeopardizde the Plaintiffs' ability to continue their project and subjecting them

 to enormous damages.




 1
   "Will be construed in accordance with the laws of Florida as applied to a contract to be fully perfonned
 therein and without reference to laws pertaining to conflict oflaws. THE PARTIES agree to waive all rights
 to a trial by jury and hereby agree to submit all disputes to binding arbitration, which shall be submitted
 and conducted by one arbitrator, the costs of which shall be equally shared among THE PARTIES. The
 parties agree that the arbitrator shall have authority to grant injunctive or other fonns of equitable relief to
 any party. Any arbitration relating to a dispute under Section 5 of this Agreement shall be conducted in
 Boise, Idaho or within 10 miles of CONSULTANT'S principal place of business, Any arbitration relating
 to Section 2 shall be conducted in Delray Beach, Florida or within 10 miles of COMPANIES SCIENCE' s
 principal place of business. Any arbitration relating to Sections 2 and 5 shall take place in Boise or Delray
 Beach, or within 10 miles of the principal place of business of whichever party first demands arbitration in
 writing pursuant to this Agreement. The prevailing party of any such arbitration or dispute shall be awarded
 all costs of arbitration including attorney's fees and travel costs. It is specifically understood and agreed
 that any party may enforce any award rendered pursuant to the arbitration provisions of this Section by
 bringing suit in any court of competent jurisdiction."
 2 The Defendant demanded additional financial compensation to complete the scope of work described in the
 Agreement that is in excess of the contract price, and the Plaintiffs refused to pay such amount, but were willing to
 discuss such after they reviewed the work product already completed and paid for, but the Defendant refused to
 produce the work product, which is the Plaintiffs' intellectual property.
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     5. Therefore, by this action, in accordance with the Agreement, Plaintiffs seek to compel the

 Defendant to arbitrate the disputes arising under the Agreement as more fully delineated in

 Exhibit "C" hereto.

                                                  PARTIES

     6. Plaintiff, CaringOnDemand, LLC is a limited liability company created under the laws of

 the state of Delaware, with its principal place of business located at 4450 S. Tiffany Drive, West

 Palm Beach, Florida 33407.

     7. Plaintiff, Avior Sciences, LLC is a limited liability company created under the laws of the

 state of Delaware, with its principal place of business located at 4450 S. Tiffany Drive, West Palm

 Beach, Florida 33407.

     8. Defendant, Ventive, LLC is limited liability company created under the laws of the State of

 Idaho, with its principal place of business located at 121 N. 9th Street, STE 101, Boise, Idaho

 83702.

                                     JURISDICTION AND VENUE

     9. This Court has diversity jurisdiction over this action pursuant to 28 U.S.C. § 1332, as this is

 a civil action with complete diversity of citizenship, and the amount in controversy exceeds the

 sum of $75,000.00, exclusive of interest and costs.

     10. Additionally, this Court has subject matter jurisdiction over this action pursuant to 28

 u.s.c. §1331.
     11 . Venue is proper because the Plaintiffs reside in Palm Beach County, Florida and the

 Agreement provides that any action brought by either party enforcing the terms and provisions of

 the Agreement shall be governed by the laws of the State of Florida. Venue is also proper pursuant




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 to 28 U.S.C. §1391 (a) as a substantial part of the events or omission giving rise to the claims set

 forth in the instant action occurred in the Southern District of Florida.

     12. Further, under the Federal Arbitration Act, " [t]he hearing and proceedings, under such

 agreement, shall be within the district in which the petition for an order directing such arbitration

 is filed." 9 U.S.C. §4. Pursuant to the Agreement, "[a]ny arbitration relating to Section 2

 [Ownership Interests in Work Product] and 5 [Compensation] shall take place in Boise or Delray

 Beach, or within 10 miles of the principal place of business of whichever party first demands

 arbitration in writing pursuant to this Agreement."

     13. The Plaintiffs served Defendant with notice of their demand for arbitration pursuant to

 Sections 2 and 5 of the Agreement of February 16, 2018.

                                      FACTUAL BACKGROUND

     14. On or about October 23, 2017, the Plaintiffs and Defendant entered into the Agreement.

 The Agreement provided for the Defendant to render certain consulting services to the Plaintiffs

 in a timely and professional manner, and the Plaintiffs to compensate the Defendant for a quoted

 fee based on a written detailed scope of work that was amended on two different occasions in

 writing.

     15. The services that the Defendant was required to provide to the Plaintiffs were detailed in

 the Statement of Work ("SOW") provided as an attachment to the Agreement. See SOW attached

 hereto as Exhibit "D".

     16. The SOW stated that "[p ]ursuant to the Consulting Agreement, dated June 28 th , 2017 and

 by the signatures of their representatives below ... execute this Statement of Work to identify the

 Services which CONSULTANT [Defendant] agrees to provide to AVIOR SCIENCES, to set forth

 the amount which AVIOR SCIENCES agrees to pay CONSULTANT for the Services identified


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 herein, and to set forth any additional terms and conditions concerning the Services described

 herein."

     17. As to compensation, the Agreement states, "[t]he Aggregate amount of CONSULTANT'S

 invoice for the Services rendered hereunder shall not exceed the amount(s) set forth in the SOW

 and shall constitute CONSULTANT's entire compensation for Services unless otherwise agreed

 to in writing by an authorized representative of COMPANIES [Plaintiffs]."

     18. The Agreement further provides that "[s]hould it be determined that additional services are

 required due to the development of new projects or because additional Services are required under

 the existing SOW, Addendum A [SOW] may be amended by the issuance of Addendum A-1, A-

 2, A-3 etc., to compensate the additional Services."

     19. The SOW also states that "AVIOR SCIENCES agrees to pay CONSULTANT for the

 Services provided and invoiced (detailed invoices to be provided) under this SOW upon AVIOR

 SCIENCES's acceptance of the Services and/or Work Product, at 15-day intervals."

    20. And, the SOW provides "[t[he maximum contract amount of this SOW shall not exceed

 $131,000 unless there is a change in Scope with AVIOR's authorization.                     If CONSULANT

 determines it will exceed the maximum work hour amount; a written request shall be submitted by

CONSULTANT with specific documentation explaining why CONSULTANT shall exceed the

maximum amount. Upon review and approval by AVIOR the CONSULTANT will submit a

revised SOW in advance for AVIOR SCIENCE's approval."

    21. The project under which the Agreement was entered between the Parties was first

submitted to numerous companies for consideration, several of which submitted bids to provide

services to the Plaintiffs.

    22. The Defendant won the bid based on its price and ability to perform the project.


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     23. Thus, per the specific terms of the Agreement, the Plaintiffs agreed to pay and the

 Defendant agreed to accept $131 ,000.00 for the SOW and no further funds would be paid to

 Defendant unless additional services and projects were requested by the Plaintiffs, which none

 were.

     24. Neither the Agreement nor the SOW provided the Defendant an had unlimited budget to

 complete the project, unless the project was specifically expanded by the Plaintiffs with their

 consent.

     25. To date, the Defendant has not produced its work product, which is the sole and exclusive

 intellectual property of the Plaintiffs, despite the fact that Plaintiffs have made the payments due

 and owing under the Agreement. .

     26. In or around January 2018, the Defendant informed the Plaintiffs that the price agreed to

 for the project by the Parties was insufficient, and the Defendant required that the Plaintiffs pay

 the entire contract price plus agree to pay additional amounts for the Defendant to continue and

 ultimately complete the project. In fact, the Defendant advised the Plaintiffs that the fee would be

 more than $220,000.00, which is at least $90,000.00 more than the agreed upon contract price.

     27. As of such time, the Plaintiffs had already paid nearly $60,000.00 to the Defendant under

 the Agreement, and believe the project was less than one-third complete.

     28. The Plaintiffs refused to pay the additional amounts of money demanded by the Defendant,

 and thus Plaintiffs demanded the work that had been performed to date under the Agreement before

 any further funds were tendered so that the Plaintiffs could evaluate the Defendant's work product,

 the actual completion of the SOW to date, and to consider the scope of the entire project.

     29. The Defendant refused to release its work product, continued to demand full and additional

 payments, and refused to continue to perform any further work.


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     30. As a result of this dispute as to compensation and ownership of the work product,

 Plaintiffs demanded arbitration upon their determination that this matter could not otherwise be

 amicably resolved between them and the Defendant.

     31. Specifically, the Agreement states that, "[s]hould it be determined that additional services

 are required due to the development of new projects or because additional Services are required

 under the existing SOW, Addendum A [SOW] may be amended by the issuance of Addendum A-

 l , A-2, A-3 etc., to compensate the additional Services."

    32. Additionally, the SOW states, "If CONSULANT determines it will exceed the maximum

 work hour amount; a written request shall be submitted by CONSULTANT with specific

 documentation explaining why CONSULTANT shall exceed the maximum amount. Upon review

 and approval by AVIOR the CONSULTANT will submit a revised SOW in advance for AVIOR

 SCIENCE's approval."

    33. The Defendant's request for additional payment for the completion of the SOW under the

Agreement is wholly inappropriate and unsubstantiated.

    34. If the Defendant underbid the project, then it did so at its own peril. However, it appears

that the Defendant fraudulently induced the Plaintiffs into entering the Agreement with the

intention of not completing the project for the agreed upon contract price, but to demand additional

funds and to hold the Plaintiffs' intellectual property hostage until such ransom is paid by the

Plaintiffs.

    35. Pursuant to Section 13 of the Agreement, these disputes are required to be arbitrated, as

the Agreement states:

                " Will be construed in accordance with the laws of Florida as applied to a
                contract to be fully perfonned therein and without reference to laws
                pertaining to conflict of laws. THE PARTIES agree to waive all rights to
                a trial by jury and hereby agree to submit all disputes to binding
                arbitration, which shall be submitted and conducted by one arbitrator, the
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                  costs of which shall be equally shared among THE PARTIES. The parties
                  agree that the arbitrator shall have authority to grant injunctive or other
                  forms of equitable relief to any party. Any arbitration relating to a dispute
                  under Section 5 of this Agreement shall be conducted in Boise, Idaho or
                  within IO miles of CONSULTANT'S principal place of business, Any
                  arbitration relating to Section 2 shall be conducted in Delray Beach,
                  Florida or within 10 miles of COMPANIES SCIENCE's principal place
                  of business. Any arbitration relating to Sections 2 and 5 shall take place in
                  Boise or Delray Beach, or within 10 miles of the principal place of
                  business of whichever party first demands arbitration in writing pursuant
                  to this Agreement. The prevailing party of any such arbitration or dispute
                  shall be awarded all costs of arbitration including attorney's fees and travel
                  costs. It is specifically understood and agreed that any party may enforce
                  any award rendered pursuant to the arbitration provisions of this Section
                  by bringing suit in any court of competent jurisdiction."

     36. Pursuant to § 13 of the Agreement, the Plaintiffs' arbitration demand stated that the

 arbitration proceedings must be conducted in Delray Beach, Florida or within IO miles of the

 Plaintiffs principal place of business since the Plaintiffs were the first to serve a demand for

 arbitration.

     3 7. As of the filing of this Complaint, there has been no written or oral request made by the

 Defendant, nor has the Defendant responded to the Plaintiffs demand for the Defendant to arbitrate

these disputes.

    38. All conditions precedent have been complied with by the Plaintiffs or waived by the

Defendant.

                              COUNTI
     ACTION TO COMPEL ARBITRATION PURSUANT TO §4 OF THE FEDERAL
                          ARBITRATION ACT
    39. Plaintiffs repeat and reallege each and every allegation set forth in paragraphs l through

38 of this Complaint as if set forth fully herein.

    40. Section 2 of the Federal Arbitration Act provides as follows:

                  A written provision in any maritime transaction or a contract evidencing a
                  transaction involving commerce to settle by arbitratio11 a controversy
                  thereafter arising out of such contract or transaction, or the refusal to
                  perform the whole or any part thereof, or an agreement in writing to submit
                  to arbitration an existing controversy arising out of such a contract,
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                  transaction, or refusal, shall be valid, irrevocable, and enforceable, save
                  upon such grounds as exist at law or in equity for the revocation of any
                  contract.

 9 U.S.C. § 2 (emphasis added).

      41. The controversies that are the subject of this action arise from the contract entered into

 between the Parties and involve interstate commerce that falls within the scope of the Federal

 Arbitration Act, 9 U.S.C. §2.

      42. Section 4 of the Federal Arbitration Act Provides as follows:

                 A party aggrieved by the alleged failure, neglect, or refusal of another to
                 arbitrate under a written agreement for arbitratio11 may petition any
                 United States district court which, save for such agreement, would have
                 jurisdiction under Title 28, in a civil action or in admiralty of the subject
                 matter of a suit arising out of the controversy between the parties, for an
                 order directing that such arbitratio11 proceed in the manner provided for
                 in such agreement.

 9 U.S.C. § 4 (emphasis added).

      43. Pursuant to 9 U.S.C. §4, the Defendant should be required to arbitrate the disputes under

 the Agreement in Delray Beach, Florida or within IO miles of the Plaintiffs' principal place of

 business sharing the costs fifty-fifty with the Plaintiffs.



         WHEREFORE, Plaintiffs are entitled to, prays for, and demands a judgment ordering,

directing and compelling the Defendant to arbitrate the claims asserted in the instant action in

accordance with the arbitration provision in the Agreement by agreeing to one arbitrator to

conduct an arbitration that shall commence in in Delray Beach, Florida or within IO miles of the

Plaintiffs' principal place of business within thirty (30) days of the Order and the Defendant and

Plaintiffs sharing the costs of the arbitration fifty-fifty, awarding the Plaintiffs their costs and

attorneys' fees for bringing forth this action, and granting Plaintiffs such other and further relief

as to which this Court deems appropriate and just.


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                      RESERVATION OF RIGHT TO AMEND PLEADINGS

         Plaintiffs reserve the right to amend these pleadings to add any and all claims that it

  determines are just and appropriate including a motion for attorneys' fees and costs.


  Dated: February 21, 2018
                                                    Respectfully submitted,

                                                          DAVIDOFF LAW FIRM, PLLC

                                                    By:                      IJMD/
                                                          Jonathan Marc Davidoff, Esq.
                                                          Attorneys for Plaintiffs
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                   Exhibit "A"
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  MASTER CONSULTING AGREEMENT

       This Consulting Agreement ("Agreement") is entered into effective as of October 23rd , 2017 by and
 between Ventive LLC ("CONSULTANT"), an Idaho limited liability company with a primary address of 121
 N. 9th St., STE 101 Boise, ID 83702 and Caring People 5300 West Atlantic Avenue, Suite 200 Delray
 Beach, FL 33484 and CaringOnDemand and Avior Sciences located at 5300 West Atlantic Avenue, Suite
 600 ("Companies"). Consultant and Companies are collectively referred to as "THE PARTIES".

       CONSULTANT represents that it has sufficient expertise to perform the services described in Exhibit
 A attached hereto and incorporated herein by reference (the "Services"), and Caring People has
 determined to engage CONSULTANT to perform those Services on the following mutually agreed terms
 and conditions.

 1.      Services
         CONSULTANT will render to COMPANIES the Services in a timely and professional manner and
 to the best of his ability.

         A new Statement of Work ("SOW") "Exhibit" will be required for each new project requested by
 COMPANIES. Each SOW will become an integral part of this Agreement by reference when executed or
 otherwise mutually approved by COMPANIES and CONSULTANT in writing (e.g., by email).

 2.      Ownership Interests in Work Product:

          Except where otherwise stated in each respective Statement of Work "SOW", provided that
 COMPANIES is not in breach and all outstanding fees due pursuant to any SOW relating to
 CONSULTANT's Services have been paid in full, all rights, title and interest in the work product of
 CONSULTANT's Services shall become the exclusive property of COMPANIES, including all intellectual
 property rights, copyrights, patents, trademarks, and trade secrets related to the work product delivered
 by CONSULTANT for said payment ("Work Product"). For the purposes of this Agreement, Work Product
 shall mean all work product generated by CONSULTANT solely or jointly with others in the performance
 of Services.

          In the event that CONSULTANT integrates any work that was previously created by the
 CONSULTANT ("Pre-Existing Work") into any Work Product, the CONSULTANT shall inform COMPANIES
 prior to its intent to do so and provide a reasonably detailed explanation of the "Pre-Existing Work" and
 its purpose within the COMPANIES development project. COMPANIES may decline the CONSULTANT'S
 use of "Pre-Existing Work" but only for commercially reasonable purposes. So long as COMPANIES is
 not in breach of this Agreement, CONSULTANT shall grant to COMPANIES a worldwide, royalty-free,
 perpetual, irrevocable license to exploit and use in any way the incorporated "Pre-Existing Work" items,
 including, but not limited to, any and all copyrights, patents, designs, trade secrets, trademarks or other
 intellectual property rights, in connection with the Pre-Existing Work and Work Product in any manner
 that. CONSULTANT warrants that it shall not knowingly incorporate into any Work Product any material
 that would infringe any intellectual property rights of any third party. For the avoidance of any doubt,
 notwithstanding any other term or provision contained herein, CONSULTANT retains all rights, title and
 interest in the Pre-Existing Work, which shall not be considered Work Product for the purposes of this
 Agreement. If CONSULTANT integrates any "Pre-Existing Work" and unilaterally informs COMPANIES to
 cease using the "Pre-Existing Work" at any time in the future, so long as COMPANIES is not in breach of
 this Agreement, CONSULTANT shall provide a work around within 7 business days at no cost to
 COMPANIES.
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 3.      Confidentiality

           During the Term of this Agreement, CONSULTANT will have the opportunity to acquire and/or
 obtain access to confidential and proprietary information and trade secrets of COMPANIES and its
 affiliates, including but not limited to marketing strategies, technical information, product development
 and pricing information, personnel information, and financial information ("Confidential Information").
 CONSULTANT agrees to maintain the Confidential Information in strictest confidence and to not disclose
 or permit it to be accessed by any third party without COMPANIES's prior written permission. Confidential
 Information of COMPANIES also includes all Work Product developed by CONSULTANT hereunder if such
 Work Product has not yet been made publicly available. Once Work Product has been made publicly
 available, CONSULTANT shall be permitted to utilize excerpts from the Work Product to advertise its
 consulting services, with the prior permission of COMPANIES, which shall not be unreasonably w ithheld.

         CONSULTANT will protect the confidentiality of such Confidential Information using efforts no less
 than the efforts exercised by it with respect to its own confidential business information or as required by
 due care. CONSULTANT agrees not to use any Confidential Information except to perform the Services
 for COMPANIES hereunder. This section (3. Confidentiality) shall also apply to CONSULTANT'S
 employees, agents, contractors, shareholders, their family members and any and all others whom they
 may control.

         The covenants of this provision shall not apply to information which is (a) known to CONSULTANT
 or is publicly available at the time of disclosure by COMPANIES; (b) becomes publicly available after
 disclosure by COMPANIES to CONSULTANT through no act of either party; (c) is hereafter rightfully
 furnished to CONSULTANT by a third party without restriction as to use or disclosure; (d) is disclosed with
 the prior written consent of COMPANIES; (e) is information that was independently developed by
 CONSULTANT; or (f) is required to be disclosed pursuant to any judicial or administrative proceeding,
 provided that CONSULTANT immediately after receiving notice of such action notifies COMPANIES of
 such action to give COMPANIES the opportunity to seek any other legal remedies to maintain such
 information in confidence.

         CONSULTANT acknowledges that if COMPANIES is required to bring any legal actions to enforce
 the provisions herein, the damages will be irreparable and difficult to measure; and, as such, COMPANIES
 shall be entitled to seek equitable relief, including a preliminary injunction in addition to any other relief
 available.

         CONSULTANT shall adhere to COMPANIES's then-applicable policies and procedures relating to
 the access and use of COMPANIES's computers, networks and communication systems and all
 information contained thereon, incorporated herein by reference as though fully set forth.

 4.      Independent Contractor: Consultant's Employees

          CONSULTANT's relationship with COMPANIES is that of an independent contractor. Nothing in
 this Agreement will be construed to create a joint venture, agency, partnership or employer-employee
 relationship. CONSULTANT acknowledges that he/she is not an employee of COMPANIES, and as such,
 CONSULTANT agrees that he/she is not eligible for, or entitled to, any benefits that COMPANIES makes
 available to its employees. CONSULTANT forever waives any rights he/she may have or acquire to any
 benefits COMPANIES makes available to its employees.

         CONSULTANT will be responsible for keeping all records and paying its expenses related to the
 Services performed hereunder. As CONSULTANT is not COMPANIES's employee, CONSULTANT is
 responsible for paying all required state and federal taxes and obligations, including but not limited to
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  FICA (social security), state or federal unemployment insurance contributions, state or federal income tax,
  state disability insurance contributions, and workers' compensation insurance on behalf of CONSULTANT.
  COMPANIES is not obligated to and will not withhold sums for such payments from the compensation
  paid to CONSULTANT hereunder.




  5.      Compensation

          The aggregate amount of CONSULTANT's invoice for the Services rendered hereunder shall not
  exceed the amount(s) set forth in the SOW and shall constitute CONSULTANT's entire compensation for
  Services unless otherwise agreed to in writing by an authorized representative of COMPANIES. Should it
  be determined that additional services are required due to the development of new projects or because
  additional Services are required under the existing SOW, Addendum A may be amended by the issuance
  of Addendum A-1, A-2, A-3 etc., to compensate the additional Services. CONSULTANT shall be
  responsible for all other costs and expenses incident to the performance of the Services, unless the parties
  agree to otherwise in writing.

  6.      Payment

        Except as may be otherwise specified in a SOW, CONSULTANT will submit an invoice to
  COMPANIES on a bi-monthly basis for Services rendered during that period. Each invoice will reference
  any SOW that applies to this Agreement. All sums due to CONSULTANT by COMPANIES hereunder will
  be due and paid upon 15 days following the receipt of each invoice from CONSULTANT.

  7.      Term and Termination

           This Agreement may be terminated at any time by either party, without cause, upon thirty (30)
  days' written notice to the other party. COMPANIES may terminate this Agreement immediately with
  cause, upon issuance of a written notice of termination to CONSULTANT, describing the basis for cause.
  In the event of termination, COMPANIES will promptly pay CONSULTANT for all Services pursuant to this
  Agreement or any SOW substantially completed in accordance with the terms of this Agreement through
  the date of such termination. CONSULTANT will prepare and submit documentation as necessary to
  evidence progress of the Services to the date of termination and provide a final invoice to COMPANIES.
  Furthermore, in the event of termination and upon full payment of CONSULTANT's final invoice, and
  provided that COMPANIES is not in breach of this Agreement, CONSULTANT agrees to provide
  COMPANIES with all copies of any and all "Pre-Existing Work", software, source code, materials,
  documents or information, in whatever form, making up all versions of the Work Product software
  (including intermediate and final versions) prepared or obtained by CONSULTANT and paid in full per the
  final invoice by COMPANIES, in connection with the Services rendered and, upon COMPANIES's request,
  certify to COMPANIES that CONSULTANT has provided all such source code, copies of materials,
  documents and information to COMPANIES for all work effort.


  8.      Limitation of Liability

        IN NO EVENT WILL EITHER PARTY BE LIABLE FOR ANY INDIRECT, INCIDENTAL, PUNITIVE,
  SPECIAL OR CONSEQUENTIAL DAMAGES, OR DAMAGES FOR LOST PROFITS OR REVENUES, FOR
  ANY CLAIM RELATING TO OR ARISING UNDER THIS AGREEMENT OR FOR ANY BREACH,
  REPUDIATION OR TERMINATION OF THIS AGREEMENT, EVEN IF THAT PARTY HAS BEEN ADVISED
  OF THE POSSIBILITY OF SUCH DAMAGES.
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  9.      Indemnification

           THE PARTIES will defend, indemnify and hold harmless each other's officers, directors,
  employees, agents, representatives, and affiliates from and against any and all liability, costs, or damages
  (including reasonable attorneys' fees and other legal expenses) arising directly or indirectly from (i) any
  allegation that the Work Product, or any part thereof, infringes any patent, copyright, trade secret, or other
  proprietary right of any third party; (ii) any act or omission of THE PARTIES' agents or representatives,
  including all claims relating to the injury or death of any person or damage to any property; or (iii) by reason
  of any breach of the warranties, agreements, representations or obligations of THE PARTIES under this
  Agreement, provided that the party receiving such claim promptly notifies the other of such claim,
  judgment or proceeding in writing and tenders the indemnifying party the opportunity to settle such claim,
  judgment or proceeding at their expense and cooperates with the indemnifying party in settling such claim,
  judgment or proceeding.




  10.     Return and Availability of Information

          In the event of the termination or expiration of this Agreement for any reason whatsoever,
  CONSULTANT will promptly return to COMPANIES in addition to Section 7 Term and Termination all
  equipment, materials, documents, or data, whether in written, graphic, machine readable or other form, if
  any, supplied by COMPANIES in connection with this Agreement. All equipment provided by COMPANIES
  to CONSULTANT will be returned in as good condition as when received, reasonable wear and tear
  excepted.

  11.      Notice

           Any notice required under this Agreement shall be in writing and shall be sent to the individuals
  listed below. Notices shall be effective when received and shall be sent via facsimile, e-mail, certified or
  registered mail, return receipt requested, or via overnight carrier.


           If to COMPANIES:                                            If to CONSULTANT:

           5300 West Atlantic Blvd. Suite 600                          121 N. 9th St. Ste. 101
           Delray Beach, FL 33484                                      Boise, ID 83702
           Attention: Glenn Dennis                                     Attention: Jonathan Cardella
           E-mail: glenn.dennis@aviorsciences.com                      E-mail: jon@getventive.com


  12.      Severability and Waiver

          If any provision of this Agreement is held to be invalid or unenforceable for any reason, the
  remaining provisions will continue in full force without impairment, and any invalid provision will be
  replaced with a valid provision most closely approximating the purpose and economic effect of the invalid
  provision. The waiver by either party of any breach of this Agreement will not operate as a waiver of any
  subsequent breach.


  13.      Settlement of Disputes
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          This Agreement will be construed in accordance with the laws of Florida as applied to a contract
 to be fully performed therein and without reference to laws pertaining to conflict of laws. THE PARTIES
 agree to waive all rights to a trial by jury and hereby agree to submit all disputes to binding arbitration,
 which shall be submitted and conducted by one arbitrator, the costs of which shall be equally shared
 among THE PARTIES. The parties agree that the arbitrator shall have authority to grant injunctive or other
 forms of equitable relief to any party. Any arbitration relating to a dispute under Section 5 of this Agreement
 shall be conducted in Boise, Idaho or within 10 miles of CONSULTANT'S principal place of business, Any
 arbitration relating to Section 2 shall be conducted in Delray Beach, Florida or within 10 miles of
 COMPANIES SCIENCE's principal place of business. Any arbitration relating to Sections 2 and 5 shall take
 place in Boise or Delray Beach, or within 10 miles of the principal place of business of whichever party
 first demands arbitration in writing pursuant to this Agreement. The prevailing party of any such arbitration
 or dispute shall be awarded all costs of arbitration including attorney's fees and travel costs. It is
 specifically understood and agreed that any party may enforce any award rendered pursuant to the
 arbitration provisions of this Section by bringing suit in any court of competent jurisdiction.

  14.     Amendment and Assignment

          Any amendment of this Agreement will be effective only if it is in writing signed by the party(s) to
  be charged. This Agreement will not be assigned or transferred by CONSULTANT. COMPANIES may
  transfer all its rights and duties hereunder to another business, subsidiary or affiliate without
  CONSULTANT'S consent. Any such prohibited assignment or transfer will be null and void.

   15.    Solicitation of Employment

        THE PARTIES agree not to solicit the services of any employees, consultants, suppliers or
  customers of the other during the term of this Agreement and for twenty-four (24) months thereafter.

  16.     Advertising

          Except as provided for in Section 3, CONSULTANT shall acquire no right to use, and shall not
  use, without COMPANIES's prior written consent, the names, characters, artwork, designs, trade names,
  copyrighted materials, trademarks or service marks of COMPANIES, its related subsidiary companies,
  parent, employees, directors, shareholders, assigns, successors or licensees.

        Notwithstanding the foregoing, COMPANIES does not agree to permit CONSULTANT to use
  COMPANIES's name and logo on its website for the sole purpose of advertising COMPANIES as a client
  of CONSULTANT. COMPANIES will on an individual basis be a reference for CONSULTANT.

  17.     Records.

          CONSULTANT shall retain all documents, notes records and all other documentation with regard
  to the Services for a period of ninety (90) days after completion of such services. COMPANIES or its duly
  authorized representative, at all reasonable times during the performance of such Services and such
  subsequent ninety (90) day period, shall be provided upon written request copies of such documents,
  notes and records for purposes of auditing and verifying the costs of such Services or for any other
  reasonable purpose.

  18.     Entire Understanding

          This Agreement constitutes the entire agreement between the parties, superseding any and all
  agreements, either oral or written, between the parties hereto only with respect to the subject matter of
  this Agreement. Each party to this Agreement acknowledges that no representations, inducements,
  promises or agreements, orally or otherwise, with respect to only the subject matter of this Agreement,
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 have been made by any party, or by anyone acting on behalf of any party, which are not embodied herein,
 and that no agreement, statement or promise not contained in the Agreement will be valid or binding upon
 the Statements of Work authorized by this Agreement, unless the parties agree to otherwise in writing.
 The parties acknowledge and agree that, for the purposes of this Agreement and any SOW, that a
 facsimile, email, or other electronic copy shall suffice as a writing.

 19.      Survival

         The provisions of Sections 2, 3, 4, 7, 8, 9, 10, 11, 12, 13, 16, 17 and 18 shall survive the expiration
 or termination of this Agreement and continue in full force and effect and Section 15 shall survive expiration
 or termination of this agreement as stated therein.


 20.      Signatures



 COMPANIES                                                CONSULTANT


 By:

 Name:                                                    Name: Jonathan Cardella

 Date:                                                    Date: 10/23/2017
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                   Exhibit "B"
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                                             NON-DISCLOSURE AGREEMENT


THIS AGREEMENT is made on June 14. 2017




BETWEEN


     1.    CaringOnDemand, (the "Disclosing Party"); and
     2.    Ventive LLC , (the "Receiving Party"),


collectively referred to as the "Parties".


RECITALS


    A.     The Receiving Party understands that the Disclosing Party has disclosed or may disclose information
           relating to confidential information, which to the extent previously, presently. or subsequently disclosed to
           the Receiving Party is hereinafter referred to as "Proprietary Information" of the Disclosing Party.


OPERATIVE PROVISIONS


    1.     In consideration of the disclosure of Proprietary Information by the Disclosing Party, the Receiving Party
           hereby agrees: (i) to hold the Proprietary Information in strict confidence ancl to take all reasonable
           precautions to protect such Proprietary Information (including, without limitation, all precautions the
           Receiving Party employs with respect to its own confidential materials), (ii) not to disclose any such
           Proprietary Information or any information derived therefrom to any third person, (iii) not to make any use
          whatsoever at any time of such Proprietary Information except to evaluate internally its relationship with the
           Disclosing Party. and (iv) not to copy or reverse engineer any such Proprietary Information. The Receiving
           Party shall procure that its employees, agents and sub-contractors to whom Proprietary Information is
          disclosed or who have access to Proprietary Information sign a nondisclosure or similar agreement in
          content substantially similar to this Agreement
    2.    Without granting any right or license, the Disclosing Party agrees that the foregoing shall not apply with
          respect to any information after five years following the disclosure thereof or any information that the
          Receiving Party can document (i) is or becomes (through no improper action or inaction by the Receiving
          Party or any affiliate, agent, consu ltant or employee) generally available to the public, or (ii) was in its
          possession or known by it prior to receipt from the Disclosing Party as evidenced in writing, except to the
          extent that such information was unlawfully appropriated, or (iii) was rightfully disclosed to it by a third party,
          or (iv) was independently developed without use of any Proprietary Information of the Disclosing Party. The
          Receiving Party may make disclosures required by law or court order provided the Receiving Party uses
          diligent reasonable efforts to limit disclosure and has allowed the Disclosing Party to seek a protective order.
   3.     Immediately upon the written request by the Disclosing Party at any time, the Receiving Party will return to
          the Disclosing Party all Proprietary Information and all documents or media containing any such Proprietary
          Information and any and all copies or extracts thereof, save that where such Proprietary Information is a
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         form incapable of return or has been copied or transcribed into another document. ii shall be destroyed or
         erased, as appropriate.
   4.    The Receiving Party understands that nothing herein (i) requires the disclosure of any Proprietary
         Information or (ii) requires the Disclosing Party to proceed with any transaction or relationship.
   5.    The Receiving Party further acknowledges and agrees that no representation or warranty, express or
         implied, is or will be made, and no responsibility or liability is or will be accepted by the Disclosing Party, or
         by any of its respective directors, officers. employees, agents or advisers, as to, or in relation to, the
         accuracy of completeness of any Proprietary Information made available to the Receiving Party or its
         advisers; it is responsible for making its own evaluation of such Proprietary Information.
   6.    The failure of either party to enforce its rights under this Agreement at any time for any period shall not be
         construed as a waiver of such rights. If any part, term or provision of this Agreement is helcl to be illegal or
         unenforceable neither the validity, nor enforceability of the remainder of this Agreement shall be affected.
         Neither Party shall assign or transfer all or any part of its rights under this Agreement without the consent of
         the other Party. This Agreement may not be amended for any other reason without the prior written
         agreement of both Parties. This Agreement constitutes the entire understanding between the Parties relating
         to the subject matter hereof unless any representation or warranty made about this Agreement was made
         fraudulently and, as may be expressly referred to or referenced herein. supersedes all prior representations,
         writings, negotiations or understandings with respect hereto.
   7.    Th is Agreement shall be governed by the laws of the State of Florida, the parties hereby agree that all
         submitted disputes arising out of or in connection with this Agreement shall be settled in the courts of the
         State of Florida.


CaringOnDemand                                                Ventive LLC


By: _ _ _ _ _ _ _ _ __ _ _                                    ~    /-
                                                                       ~          -~-----=-
Name: _ _ _ _ _ _ __ _ _ _ _ __                               Name:        Jonathan Cardella


Title: _ _ _ _ _ __ _ _ _ _ _ _ __                            Title:         CEO & Founder


Address: _ _ __ __ __ _ _ _ __                                Address: 121 N. 9th Street Suite 101, Boise, ID 83702


Date: _ _ _ _ _ _ _ _ __ _ __                                 Date:         June 14, 2017
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                    Exhibit "C"
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      Jonathan Marc Davidoff, E1q.                                                          Aaron R, Reanlck, eaq.
     Admillod In Florida and New York                                                     Admllled In Florida, ol Counsel
         Glen A, Kendal~ Eaq.                                                               Derek A. Schwartz, Esq.
   Admhted In Connecllc:ul and New York                                                   Admitted In Flclida. of Counsel




         February 16, 2018

         via US Mail and Email (Jon@getventive.com)

         Jonathan Cardella
         Ventive, LLC
         121 N. 9 th Street
         STE 101
         Boise, ID 83702

         Re: Demand For Arbit..ation

        Dear Mr. Cardella:
        This Firm represents CaringOnDemand and Avior Sciences (collectively "Companies"). This
        letter shall server as notice to Ventive, LLC ("Ventive") of its breach of the contract it entered
        into between the Companies and Ventive on or about October 23, 2017 (the "Agreement") and
        for Ventive's misconduct in inducing the Companies into entering into the Agreement. This
        serves as notice of the Companies' demand to arbitrate any and all claims under the Agreement
        in Florida pursuant to the Agreement.

        The nature of the breach stems from services that were to be provided by Ventive to the
        Companies pursuant to the Agreement, but were not, and your notice that you refuse to provide
        such services. Furthermore, Ventive refused to deliver the Companies' intellectual property to it.
        Finally, Ventive provided the Companies with a Statement of Work ("SOW") that included a
        price for the services to be rendered, which you and Ventive had no intention to perform for such
        price. Thus, you and Ventive intended to fraudulently induce the Companies into the Agreement.
        The Companies have and continue to attempt to amicably resolve this matter, but preserve their
        rights under the Agreement by providing this notice and demand.

        As such, pursuant to §13 of the Agreement, the Companies hereby demand arbitration pursuant
        to §§2 & 5 of the Agreement. Furthermore, pursuant to § 13 of the Agreement, the Companies
        hereby demand that such arbitration proceedings be completely conducted in the State of Florida,
        specifically within ten miles of the Companies' principal place of business. Additionally, the
        Companies demand that Ventive tender payment for 50% of the arbitration fees, and agree to
        arbitrate such matters before an agreeable arbitrator.

        If you wish to discuss this matter further please contact me at jonthan@davidofflawifirm.com or
        at 212-587-5971 . Otherwise, we will be in touch with a list of recommended arbitrators within
        ten days or so.



                                           Davidoff Law Firm, P.L.L.C.
228 East 45th Street                                                                     100 North Biscayne Blvd.
Suite1700
New York, NY 10017
Tel: 212-587-5971
Fax: 212-658-9852                                  £P
                                            www.DavldoffLawFirm.com
                                                                                                       Suite 1607
                                                                                                 Miami, FL 33132
                                                                                               Tel: 305-673-5933
                                                                                              Fax: 305-71 8-0647
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  Jonathan Marc Davidoff, Esq.

 cc: clients




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                  th
  228 East 45 Street, Suite 1700, New York, New York 10017 • Telephone (212)-587-5971e Fax (212)-658-9852
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                   Exhibit "D"
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     EXHIBIT "A"
     STATEMENT OF WORK NO. 1
      (Per Agreement dated June 28th, 2017)

        1. AUTHORIZATION AND EXECUTION:

        a.   Pursuant to the Consulting Agreement ("Agreement") dated as of June 28th, 2017 and by
             the signatures of their representatives below, Avior Sciences ("AVIOR SCIENCES") and
             Ventive, LLC. ("CONSULTANT") execute this Statement of Work to identify the Services
             which CONSULTANT agrees to provide to AVIOR SCIENCES, to set forth the amount
             which AVIOR SCIENCES agrees to pay CONSULTANT for the Services identified herein,
             and to set forth any additional terms and conditions concerning the Services described
             herein. Except as otherwise expressly provided for herein by reference to the affected
             section of the Agreement, the rights and obligations of the Parties set forth in this
             Statement of Work (SOW) shall be governed by the Agreement. This SOW and its
             authorizing Agreement neither modify nor supersede any previous and/or existing
             agreements between AVIOR SCIENCES and CONSULTANT in any way whatsoever.

        2. DESCRIPTION OF SERVICES:

             Background
             AVIOR SCIENCES is the research and development team of Caring People, Inc., a home
             care provider to patients (ROCs) in extended care facilities as well as in their homes. The
             provided services include companion care and skilled nursing for ROCs with dementia,
             Alzheimer's and other diagnosis that render them incapable of providing care for
             themselves. Caring People contracts its services directly with the ROC or their companion,
             POA/HCP, or family, who is typically living in a facility but sometimes at home.

             Caring People has been undergoing rapid growth and currently relies largely on ad hoc
             systems, processes and tribal knowledge to perform its relatively complex workflows, such
             as; prospective ROC identification and qualification, non-clinical and clinical intake,
             admission and provision of services, and case management. Caring People largely relies
             on "CPA", its homegrown practice management solution, in conjunction with spreadsheets
             for contact management and business intelligence reporting, and other common tools such
             as smartphones, email and cloud-based calendaring. Sales personnel, called "HCCs",
             identify opportunities for prospective ROCs often by visiting facilities and through referrals
             from the facility staff and/or other health care providers. HCCs then perform a non-clinical
             intake process, qualify ROCs for admission and ability to pay for services, obtain payment
             information, generate services agreements containing quotes (CPA presently) and arrange
             for clinical assessments. Their goal is to admit ROCs under Service Agreements which first
             requires a clinical assessment, which produces doctor's orders, which must be ratified by
             signature of the attending physician. At this point, care begins and the HCC's role is
             concluded with respect to the ROC's admission.

             Recent Developments
             AVIOR SCIENCES has developed an alpha-ready Android application for facilitating the
             non-clinical intake process performed by HCCs, called HCClntake. While this application
             stores and makes inputted data accessible to HCCs utilizing the Android application, it
             does not have full-featured CRM capabilities, such as sales team and opportunity
             management, workflow management, reporting/sales analytics, event triggers, task
             assignment, email integration, lead scoring, quoting/service agreement generation, digital
             signature integration for contract execution, etc. HCClntake represents a tremendous


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            stride forward for AVIOR SCIENCES in streamlining the non-clinical intake process,
            however, HCClntake does not manage the entire HCC workflow from prospect
            identification to service agreement generation, acceptance and clinical intake
            initiation/management, nor does it provide managerial dashboards and notifications.

            Proposed Solution

            CONSULTANT and AVIOR SCIENCES shall collaborate and work in tandem to launch
            HCClntake along with the proposed "Key Deliverables", which include but are not limited
            Addendum 1 attached and as noted below, namely the CRM, proposed lntakeOnDemand
            android application, and web application for physicians to endorse MD orders, as an
            integrated system to manage the entire workflow from prospect identification to initiation
            of care. This system shall facilitate the business process as noted in the Business Process
            Overview diagram (below) and provide for the automation of the desired business
            intelligence reports, dashboards and notifications.

            New patient leads can be written to the CRM from external sources such as websites and
            the HCClntake application, or manually entered by office staff for generation of a request
            for an HCC to perform a non-clinical intake. Additionally, leads identified in the field by the
            HCC can be entered through the HCClntake application for transmission to the CRM. This
            initial input may include information such as patient name, address, physician, facility (or if
            at home), etc. Before or upon completion of the HCC Intake process, a decision will be
            made by the administrator, HCC (or via the system's business rules) as to whether the
            patient will be admitted and undergo a formal SOC Assessment by nursing staff. An
            affirmative decision will send a notification to one or more nurses with the lntakeOnDemand
            application loaded on their Android devices and affiliated with an ROC and prospective
            ROC's facility or service area.


           Upon acceptance, the clinical nursing assessment will be performed within the
           lntakeOneDemand application using a seamless UI to capture the traditional form-based
           inputs including Medication Profile, Skin - Lesions (including photo uploads), FRAT,
           Geriatric Depression Scale, Braden Scale, Home Safety Assessment, Emergency Contacts
           and Advance Directives, etc. as provided for in (2688_001.PDF) by Steven East in his 9/22
           email. The application will facilitate the creation of the plan of care, goal setting, care
           schedule, selection of services, and generation of MD orders for signature. The conclusion
           of this process by the nurse will trigger an email to the attending physician as entered by
           the nurse, requesting that he confirm his identity, create an account and authorized the MD
           orders by digital signature or opt to receive and/or return the document by fax.




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         Business Process Overview
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                                                                Phase 2




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                       Project Overview
                       AVIOR SCIENCES seeks to have CONSULTANT develop a system for expediting new
                       patient onboarding, intake generation and signing of doctor's orders (lntakeOnDemand)).


                       CONSULTANT shall perform discovery into the existing process and shall design a
                       proposed process flow and application prototype for each user role; home care consultant
                       (HCC) for completion of the HCClntake process (CRM), nurses performing clinical intake
                       (lntakeOnDemand), physicians to sign doctor's orders, and sales and operational
                       administrators for management purposes (CRM).




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               Once approved, CONSULTANT shall develop the prototype as a production-ready
               Laravel PHP application on AWS web server(s), running MySQL database, and shall also
               consist of SuiteCRM configured for Caring People, and an Android application built on
               React Native framework for the nursing clinical intake, as well as a browser-based web
               application for physician approvals. The application shall provide five distinct user roles;
               HCC, Nurse, Doctor, Sales Manager and Administrator. A potential sixth role will be an
               executive view/reporting across all offices and resources, with super admin privileges.
               SuiteCRM also has its own permission system for CAM administration.


              Project Objectives
                         • Expedite and streamline patient onboarding/SOC intake process
                         • Provide data control & visibility (Intake, Orders, PoC = structured data)
                         • Provide an internal CAM for sales and sales managers
                                 o Track HCC sales production
                                 o Provide pipeline visibility & forecasting
                                 o Track production by lead and referral source
                        • Provide real-time executive-level business intelligence

               Proposed List of Key Deliverables
                       1. SuiteCRM configured for Caring People workflows
                                a. Full two-way integration with HCClntake
                                 b. Full two-way integration with lntakeOnDemand
                                c. Integration with MD's Orders (receive orders)
                                d. Integration with CPA (push completed orders)
                             (Note: Integrations may be accomplished via Laravel server)
                                e. Service agreement generation/delivery
                                            i.  Digitally signed
                                          ii.   Reminders/event triggers
                                        iii.    Pipeline visibility
                                f. Custom dashboards including KPI & Pipeline views
                                           i.  HCC
                                         ii.   Sales Manager
                                        iii.   Administrator
                                       iv.     Executive
                       2. lntakeOnDemand - Clinical Intake Android Application
                                a. MD Orders Generation
                                           i.  Digitally signed
                                         ii.   Two-way fax capabilities
                                       iii.    Dashboard (MDs and Administrators)
                                       iv.     MD Onboarding - any doctor can sign up/use
                                b. Full clinical intake process
                                          i.   Initial Nursing Assessment
                                         ii.   Geriatric Depression Scale (Short Version)
                                       iii.    Braden Scale
                                      iv.      Fall Risk Assessment
                                        v.     Home Safety Assessment
                                      vi.      Emergency Contacts/Advance Directives
                                      vii.     Medication Profile
                                     viii.     Home Health Plan of Care
                                      ix.      Caregiver Clinical Orientation & Supervision Note


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                                                 x.    Diagnosis/lCD-10 Code assignment
                                                xi.    Photo capture
                                               xii.    Vital sign logging
                                               xiii.   Voice Dictation (android.speech) (optional)




            Proposed System Architecture


                           CloudFront
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    Proposed Hosting
    Entirely hosted on AWS EC2 (S3 for storage)
       •   M4.large Linux - Laravel server for Production - Ideal for websites and web applications
       •   T2.smaff Linux - Laravel server for Development - T2 instances accrue CPU Credits when
           they are idle, and use CPU credits when they are active.
       •   M4.large Linux - SuiteCRM server for Production



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          •   T2.small Linux - SuiteCRM server for Development
          •   Disaster recovery: Backup Nightly (AWS provided). AWS snapshots of the database,
              automated backup policy to manage scheduled creation and retention of backups.




                 User               API           Laravel            CRM                         AWS
                                                                                    HCC
                                                                                                 VPC




                                                            API -- · · · ·   ····

                               Smart Phone
                                                                                    CPA


              Onboarding Workflow
              The process and workflow for the HCC intake is performed on the pre-existing HCClntake
              mobile application. Information received during the HCC intake process will be pushed to
              the CRM and trigger the sales follow up process which will determine if the SOC
              assessment should be conducted or not. If admitted, an intake request (SOC Assessment)
              will be distributed to one or more nurses which have installed the proposed Android
              application. Nurses will either claim the work order or the order will be distributed using
              scheduling logic to be determined.

              Additionally, a schedule for follow up visits will also be created with follow up visits
              scheduled at predetermined increments, e.g. 60, 90, and 180 days (see Work Order Types
              below). It is to be determined if this functionality will be included in the initial release of this
              system.

              SOC Assessment
              The nurse will complete the intake process through use of the mobile application which will
              contain workflows that when completed, will generate the Intake Form with all required
              data entry. This will include capturing the current medications and dosages that the ROC
              is receiving, by utilizing a simple autocomplete medication entry feature to expedite entry
              (leveraging the FDA APls), as well as the ICD-1 O Diagnosis (leveraging CMS.gov), such that




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              a plain English diagnosis will suggest the appropriate ICD-1 O codes for selection by the
              nurse.

              Once the intake form is completed, the system will transform the intake into a Plan of Care
              (PDF) for the nurse's signature. Upon signature, the form will be transmitted to the
              physician of record for the given patient by email. The Physician will have the option to
              print and sign or digitally sign (web-based) the document or to have the document faxed
              to them at their fax number, upon entry, and will be provided with a number to return the
              fax which will be appended to the file and a notification sent to an administrator to manually
              review the fax and confirm completion.


                        Once the MD orders are signed, the system will store the orders, send a copy to
                        the MD and send the resulting data to the CPA to create an Electronic Care Plan.
                        A 60 Day Follow Up Assessment will also be scheduled for the RN to perform and
                        ensure caregiver compliance.


                      Reporting & MD Order Queue
              Administrator users shall be able to view system data and usage reports via a web browser.
              These reports will show all activity by nurse, HCC, ROC and physician, including Sent,
              Received, Pending and Returned orders. The reports will contain at least the information
              contained with the following diagram and a global view shall be accessible to
              Administrators and viewable by branch and appropriate personnel with security rights while
              a view accessible by each physician shall be available for their cases.

              Administrative & MD Reporting Views (rough schematic
                               MD Order(S) Queue                                                    MD Data Fields
              Global View Shows All Branch Outs tandina Orders                                     F name, L_Name
              Client Name       Physician Name·I     Sent    I Received I Pendina IReturned!           Soecialtv
                                                                             l                           NP/#
                                                                           Resent                      UP/N#
                                                                                                       Address
                                 MD Order(S) Q ueue                                                     Email
              User View Shows the Case Managers Oaen Orders                                              Fax
              Client Name      Physician Name·I      Sent    I Received I Pendina IReturnedl            Phone
                                                                                                  Front Desk Personnel
                                                                                                   F name, L Name
              ... Each Field will be color coded with the date in the field                             Email
              ...Need ability to print PDF with MD Signature on the document for audit purposes          Fax
                                                                                                        Phone


                Offline Functionality
        The mobile application residing on the nurse's device will have offline functionality through a
        local stub SQLite database residing on the device. This offline functionality applies to all
        nurses work responsibilities and will include locally cached auto-suggested values for
        diagnosis, medications list and options for facilitating the clinical assessment._Nurses device
        will auto-sync when device is online again.

               Photo Uploads
               The mobile application residing on the nurse's device will provide options to



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             add/upload photos to any of the assessments being performed and to tag the photos
             with titles and descriptions for storage and optional review by MD or administrators.
              Nurses device will auto-sync when online again

             Prescription Label Scanning (Optional)
             Nurse and HCC mobile app users will have the ability to scan prescription label
             barcodes to capture the 11-digit NOC number of the medication.

             Optionally, the NOC number could be translated to reveal key prescription metadata
             on the device as available APls allow.



             Vital Sign Capture
             The application will facilitate the capture and entry of vital sign data for storage and
             transmission.
             Digital Signatures
             Doctor's orders and other documents will have the capability to be transmitted by
             email for digital signature utilizing open source packages for internally managing
             digital signature generation, encrypting the signature using private/public keys, and
             subsequent document storage.

             Two-way Fax Functionality
             Doctor's can opt to receive requests to sign MD's orders via fax and can sign and
             return the orders via fax to Caring People. The system will receive the faxes, upload
             the records to the CRM, and notify the appropriate HCC and/or administrator.
            Dashboard Examples

            The following represents the minimum level of sales manager and executive dashboarding
            within the CRM as provided by AVIOR SCIENCES.




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         &_Objective - CONSULTANT will work with AVIOR SCIENCES to design a prototype for the
           application and upon approval, move rapidly through development, testing and delivery of
           an alpha application within 120 days of initiation. The end objective is a user friendly and
           flexible system for streamlining and expediting the prospective patient screening and
           intake process, as well as managing follow up assessments. See Project Objectives above
           for mode details.



         B. Services - CONSULTANT is prepared to provide consultation and project execution for
            the following, which may include but is not limited to;


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                     1.    Stakeholder interviews/project discovery
                     2.    Technical assessment of integration requirements
                     3.    Application design and prototyping
                     4.    Web and mobile application development
                     5.    Quality assurance & user testing
                     6.    Deployment to AVIOR SCIENCES servers (optional server configuration)

            D. Deliverables - Deliverables may include, but are not limited to:
                   1. All Application designs and specifications and source code
                   2. Web server and application backend and APls
                   3. Android mobile and tablet application
                   4. Web-based admin system and reporting
                   5. System documentation
                   6. System training and 30 days of transition support if needed as defined by AVIOR
                       SCIENCES. This will be included if sufficient budget is available in this SOW.
                       Otherwise, a new SOW will be created to include the training and assistance
                       requested by AVIOR SCIENCES.

       3.        RESOURCES:

            a.   Rate Structure: CONSULTANT shall utilize its resources as required to conduct the tasks
                 in this Statement of Work. The PARTIES agree to CONSULTANT rate structure detailed in
                 Table 3.a:

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                   Resource Name                                               Hourly Rate (USD)   % of Estimated
                                                                                                   Hours

                   Chief Technologist (Jonathan Cardella)                      $195                3%

                   Technical Lead                                              $150                10%

                   Senior User Experience Designer                             $125                10%

                   Project Manager                                             $100                5%

                   UI Designer                                                 $100                5%

                   Back End Web Developer                                      $100                32%
                   (Laravel/PHP/MySQL)

                   Mobile Application Developer (React Native)                 $100                20%

                   DevOps Engineer                                             $100                5%

                   Quality Assurance                                           $90                 10%

                  Average Hourly Rate:                                         $109.35




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                Table 3.b - Documentation and Design             -   '
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                Service Provided                                                              Estimated Hours
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                Server, Environment, Repo & Deployment Automation (+7 days)                   25
                Discovery & Documentation (+15 days)                                          35
                UX Design (Wireframe Prototype) (+40 days)                                    150
                Back End Development & Integration (web Server) (+70 days)                    280
                Mobile Application Development (+80 days)                                     250

                CRM Installation, Configuration, & Integration (optional/in parallel)         230

                Admin/Reporting System Development (+90 days)                                 70

                Quality Assurance Testing (+110 days)                                        60
                Deployment to Production (+120 days)                                         8
                Project Management (N/A)                                                     90
                Estimated Total Hours                                                        1,198


                Total Estimated Cost                                                         $131,000



                Estimated Turnaround Time                                                    120 days



          b, Conditions:

                 i.    Rates listed above are not guaranteed outside of this SOW unless specifically
                       stated in subsequent SOWS. Rates will not change in this SOW nor any SOW
                       unless AVIOR SCIENCES explicitly consents by written authorization.
                 ii.   The Rates listed herein are confidential and shall not be disclosed to any third party
                       without CONSULTANT's written consent unless required by law.

     4.      SCOPE OF WORK:

          a. "Work Product" or "Services: For the purposes of this SOW and pursuant to the
             Agreement, except as limited herein, some of the specific tasks to be performed may
             include but are not limited to:




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                      i.   Personnel: CONSULTANT will provide appropriately qualified personnel to
                           support each area of expertise required to execute the tasks listed below at a level
                           determined by AVIOR SCIENCES and CONSULTANT.
                    ii.    Additional Services: CONSULTANT will be prepared to provide additional
                           services as required to support the general task categories listed. AVIOR
                           SCIENCES will provide connectivity, access and administrative rights sufficient to
                           complete all tasks.
                    iii.   Report Generation: CONSULTANT will generate and provide required reports by
                           AVIOR SCIENCES as billable time hereunder.
                    iv.    Deliverables: Labor shall be delivered as required to support each of the tasks
                           0listed in this Statement of Work. Specific deliverables may include but are not
                           limited to:
                                1. Technical briefings, interview findings, reports, evaluations and
                                    presentations prepared under this agreement
                                2. Status Reports as required and in the format required by AVIOR
                                    SCIENCES
                                3. Work Product, including but not limited to findings documentation.

       5.         COMPENSATION AND PAYMENT:

             a.   AVIOR SCIENCES has provided CONSULTANT with a $20,000 retainer to start work
                  outlined in this SOW which is being held by CONSULTANT. CONSULTANT shall
                  specifically use the retainer to pay approved invoices that remain unpaid by AVIOR
                  SCIENCES for more than 30 days, at which time AVIOR SCIENCES shall replenish the
                  retainer to $20,000. CONSULTANT agrees not to use retainer to pay disputed invoices or
                  for any other use whatsoever. Any unused retainer balance shall be refunded to AVIOR
                  SCIENCES upon completion or termination of this SOW within 3 business days.

            b. AVIOR SCIENCES agrees to pay CONSULTANT for the Services provided and invoiced
               (detailed invoices to be provided} under this SOW upon AVIOR SCIENCES's acceptance
               of the Services and/or Work Product, at 15-day intervals. Upon receipt of CONSULTANT's
               invoice AVIOR SCIENCES shall have 15-days to review and approve. Reference activities
               from CONSULTANT time reports and/or Work Product delivered shall be used to verify
               acceptance of work effort.

            c.    The maximum contract amount of this SOW shall not exceed $131,000 unless there is a
                  change in Scope w ith AVIOR's authorization. If CONSULTANT determines it will exceed
                  the maximum work hour amount; a written request shall be submitted by CONSULTANT
                  with specific documentation explaining why CONSULTANT shall exceed the maximum
                  amount. Upon review and approval by AVIOR the CONSULTANT will submit a revised SOW
                  in advance for AVIOR SCIENCES's approval.

            d. AVIOR SCIENCES shall reimburse Consultant only for those travel expenses directly
               related to the performance of the Services that have been specifically pre-approved by
               AVIOR SCIENCES in writing.

            e.    Per the Consulting Agreement, invoice payments are due Net 15 after receipt.
                  CONSULTANT will apply a 1.5% monthly interest charge to any balances that are not
                  received within thirty days of invoice delivery excluding any disputed invoices. Any
                  questions or clarifications needed on any invoice entries must be received by
                  CONSULTANT within 5 days of AVIOR SCIENCES request. After 15 days, invoices are


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               considered accepted by AVIOR SCIENCES contingent upon Consultant providing
               deliverable requirement as agreed.

          f.   Reference activities from CONSULTANT's time reports and/or Work Product delivered
               shall be used to verify acceptance of work effort.

     6.        TERM:

          a. This Statement of Work shall remain in effect until terminated as per the Agreement, or
             superseded by a new Statement of Work.

     7.        SIGNATURES:


     AVIOR
     SCIENCES
                                                                 CONSULTANT

                                                             Jonathan Cardella, CEO of Ventive LLC
                                                                               -~-~·--:..-- --7-~::;:;-...
               Signature:                                    Signature: ,....:- ··--   .,,.~----c-__,.____

               Date:                                         Date: 10/23/2017




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    The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing nnd sen•ice of pleadings or other papers as required by law. except as provided
    by local rules of court, This fonn. approved by the Judicial Conference of the United States in September 1974, is required for the use oft he Clerk of Court for the purpose of mitiating
    the civil docket sheet. (SEE 1NsrnucT10Ns ON TIIE REVERSE OF rnE FORM.l                 NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.
    I. (a) PLAINTIFFS                                                                                                                         DEFENDANTS
    CARINGONDEMAND, LLC and AVIOR SCIENCES, LLC                                                                                               VENTIVELLC

          (b) County of Residence of First Listed Plaintiff                               Palm Beach. Florida                                 County of R1:sidcnce of First Listed Defendant   Boise.                                          Idaho
                                              (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                         (IN U.S. PLAINTIFF CASES ONI.Y)
    (c) Atton1cy's (Firm             Name. Addri.'ss. and Tclcphonc Number}                                                                          NOTE: 11' !.,\ND CONDEMNATION CASES. USE THE LOCATION OF THE TRACT
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Jonathan Marc Davidoff, Esq.
228 East 45th Street, Suite 1700, New York, New York 10017                                                                                     Attorneys (If Known)
Tel: (212)587-5971

    (d)   Check County Where Action Arose:                           0   MIAMI• DADE            O   MONROE        O   UROWARD           ./J   PALM BEACII                     :J        MARTIN       O    ST LUCIE     O    INDIAN RIVER            O   OKEECIIOIJEE
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    V . ORIGIN                         ( P lace .:i.n "X'" in One lloA Only)                                                                                                                                                                            Appeal to District
                                                                                                                                                                              Transferred from
/J     I Original                  0 2        Removed from                       O 3       Rc-filcd-                  0        4 Reinstated or 0                        5 another district                    0 6 Multidistrict            0 7 Judge from
               Proceeding                     State Court                                  (scc VI below}                        Reopened                                                                            Litigation                Magistrate
                                                                                                                                                                              (specify)                                                                 Jud~mcnt
                                                                                            a) Re-filed Case O YES ONO                                                   b) Related Cases OYES ONO
    VI. RELATED/RE-FILED                                          (Sec instruc1ions
    CASE(S).                                                      SL'CtHhl p;tge):          JUDGE                                                                                               DOCKET NUMBER

                                                            Cite the U.S. Civil Statute under which you arc filing and Write a UriefStatcmcnt of Cause (Oo not cite jurisdictional statutes unless
                                                            di\'crsity ):
    Vil. CAUSE OF ACTION 9 U.S.C. §4

                                                            LENGTH OF TRIAL via                            days cstima1cd (for both sides to try entire case)
VIII. REQUESTED IN                                          0      CHECK IF THIS IS A CLASS ACTION                                     DEMANDS                                                            CHECK YES only if demanded in complaint:
      COMPLAINT:                                                   UNDER F.R.C.J>. 23                                                                                                                     JURY DEMAND:                     0 Yes            9'     No
A HOVE INFORMATION IS TtUrn & CORRECT TO                                                            SIGN,\TURE OF ATTORNEY OF RECORD                                                                                  DATE
TIU: HEST OF MY KNOWLEDGE
                                                                                                    ls/Jonathan Davidoff                                                                                           February 21, 2018
                                                                                                                                                                         FOil OFFICE USF. 01'1,\'
                                                                                                                                                         AMOUNT                                                RECEIPT /I                                    IFP
                           Case 1:18-cv-00120-CWD Document 1-5 Filed 03/13/18 Page 40 of 42
JS 44 Rcmsc   &:c~§#c,K~:18-cv-80211-BB Document 1-5 Entered on FLSD Docket 02/21/2018 Page 2 of 2

                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

                                                                     Authority For Civil Cover Sheet

   The JS 44 civil cover sheet and the infonnation contained herein neither replaces nor supplements the filings and service of pleading or other papers as required
by law, except as provided by local mies of court. This fonn, approved by the Judicial Conference of the United States in September 1974, is required for the use
ofthe Clerk ofCourt for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint
filed. The attorney filing a case should complete the fonn as follows:
I.       (a) Plaintiffs-Defendants. Enter names (last. first, middle initial) ofplaintifTand defendant. If the plaintifT or defendant is a government agency, use only
the full name or standard abbreviations. If the plaintifTor defendant is an official within a government agency. identify first the agency and then the official. giving
both name and title.
         (b) County of Residence. For each civil case filed, except U.S. plaintiff cases. enter the name of the county where the first listed plaintiffresides at the time
of filing. In U.S. plaintifTcases. enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation cases,
the county of residence of the "defendant" is the location of the tract of land involved.)
         (c) Attorneys. Enter the linn name. address, telephone number, and attorney of record. If there arc several attorneys, list them on an attachment. noting
in this section "(sec attachment)".
        (d) Choose one County where Action Arose.
IT.     Jurisdiction. The basis ofjurisdiction is set forth under Ruic 8(a), F.R.C.P .. which requires that jurisdictions be shown in pleadings. Place an '•X" in one
of the boxes. If there is more than one basis ofjurisdiction. precedence is given in the order shown below.
United States plaintiff. (I) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States arc included here.
United States defendant. (2) When the plaintiff is suing the United States. its officers or agencies. place an "X" in this box.
Federal question. (3) This refers to suits under 28 U.S.C. I 331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes preecdcnce, and box
I or 2 should be marked.
Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties arc citizens ofdifferent states. When Box 4 is checked. the citizenship of the
different parties must be checked. (Sec Section III below; federal question actions take precedence over diversity cases.)
111.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed ifdiversity ofcitizenship was indicated above. Mark this section
for each principal party.
JV.     Nature of Suit. Place an "X" in the appropriate box. If the nature of suit cannot be dctcrn1incd. be sure the cause ofaction. in Section VI below, is sufficient
to enable the deputy clerk or the statistical clerks in the Administrative Office to determine the nature of suit. If the cause lits more than one nature of suit, select
the most definitive.
V.      Origin. Place an "X" in one of the seven boxes.
Original Proceedings. (I) Cases which originate in the United States District Courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U .S.C., Section 1441. When the petition
for removal is granted, check this box.
RdikJ (3! Attach Ct'PY of"OrJcr for Di,rni,sal o f l'r.:vious case. Also complete' VI.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section I404(a). Do not use this for within district transfers or multidistrict
litigation transfers.
Multidistrict Litigation. (6) Check this box when a multidistriet case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this box
is checked, do not check (5) above.
Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge's decision.
 VI.      Rclatcd/Rclilcd Cases. Thi, section of the JS 44 is u,.:d lo reference rc-lalc-d pending cases orre-tilc-d c,1scs. Insert the clt,ckct numhcr, and th.: ecorrcsptmding
j udge·s name• for such c:asc~.

VII. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional statutes
unless diversity.        Example:               U.S. Civil Statute: 47 USC 553
                                                Brief Description: Unauthonzcc.l reception of cable service
VIII.   Requested in Complaint. Class Action. Place an "X" in this box if you arc filing a class action under Ruic 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Date and Attorney Signature. Date and sign the civil cover sheet.
                 Case 1:18-cv-00120-CWD Document 1-5 Filed 03/13/18 Page 41 of 42
        Case 9:18-cv-80211-BB Document 1-6 Entered on FLSD Docket 02/21/2018 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                   Southern District of Florida


             CARINGONDEMAND, LLC and                                 )
               AVIOR SCIENCES, LLC,                                  )
                                                                     )
                                                                     )
                            Plai111iffM                              )
                                                                     )
                                V.                                       Civil Action No.
                                                                     )
                        VENTIVE LLC,                                 )
                                                                     )
                                                                     )
                                                                     )
                          Def e11da11/(s)                            )

                                                SUMMONS IN A CIVIL ACTION

To: (Defe11da111 's name and address) Ventive, LLC
                                      121 N. 9th Street, STE 101 ,
                                      Boise, Idaho 83702




          A lawsuit has been filed against you.

         Within 21 days aner service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Davidoff Law Firm, PLLC,
                                Jonathan Marc Davidoff, Esq.
                                228 East 45th Street, Suite 1700
                                New York, New York 10017
                                Email: Jonathan@davidofflawfirm.com
                                Secondary Email: Efile@davidofflawfirm.com

        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:            02/21/2018
                                                                                      Sig11a/11re <~{Clerk or Deputy Clerk
                  Case 1:18-cv-00120-CWD Document 1-5 Filed 03/13/18 Page 42 of 42
        Case 9:18-cv-80211-BB Document 1-6 Entered on FLSD Docket 02/21/2018 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                       PROOF OF SERVICE
                       (This sectiou should not be filed with the court uuless required by Fed. R. Civ. P. 4 (1))

           This summons for (11a111e of individual a11d title. !fany)
was received by me on (date)


           0 I personally served the summons on the individual at (place)
                                                                                 on (da,e)                           ; or
                                                                                             - - -- -- - - -
           0 I left the summons at the individual's residence or usual place of abode with (11a111e)
                                                                  , a person of suitable age and discretion who resides there,
         - -- -- - - - - - - - - -- - - -
           on (date)                               , and mailed a copy to the individual 's last known address; or
                        --------
          0 I served the summons on (name ofindividual)                                                                       , who is
           designated by law to accept service of process on behalf of (nam e oforga11izatio11)
                                                                                 on (date)                           ; or

          0 I returned the summons unexecuted because                                                                              ; or

          0 Other (spec!fj~:




          My fees are$                            for travel and $                   for services, for a total of$          0.00


          I declare under penalty of perjury that this infonnation is true.



Date:
                                                                                             Sen·er ·s signature



                                                                                         Printed 11a111e aud tille




                                                                                             Server 's address

Additional info1mation regarding attempted service, etc:
